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³&RPSDQ\´

                                ,VXEPLWWKLV'HFODUDWLRQLQVXSSRUWRIJohnson & Johnson’s and Johnson

& Johnson Consumer Inc.’s Motion to Fix Venue for Claims Related to Imerys’s Bankruptcy

Under 28 U.S.C. §§157(b)(5) and 1334(b)

                                ,DPNQRZOHGJHDEOHDQGIDPLOLDUZLWKWKH&RPSDQ\¶VLQVXUDQFHSURJUDP

LQFOXGLQJ WKH &RPSDQ\¶V KLVWRULFDO FRPPHUFLDO JHQHUDO OLDELOLW\ ³&*/´ SROLFLHV ([FHSW DV

RWKHUZLVH LQGLFDWHG LQ WKLV 'HFODUDWLRQ WKH IDFWV VHW IRUWK KHUHLQ DUH EDVHG XSRQ P\ SHUVRQDO

NQRZOHGJHP\UHYLHZRIUHOHYDQWGRFXPHQWVRULQIRUPDWLRQSURYLGHGWRPHE\HPSOR\HHVRIWKH

&RPSDQ\RUWKH&RPSDQ\¶VDGYLVRUV

                                ,DPDZDUHRIWKHFODLPVDVVHUWHGE\SODLQWLIIVWKH³7DOF&ODLPV´DJDLQVW

-	-DQG'HEWRUV,PHU\V7DOF$PHULFD,QF³,7$´DQGRU,PHU\V7DOF9HUPRQW,QF³,79´


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 7KH'HEWRUVLQWKHVHFDVHVDORQJZLWKWKHODVWIRXUGLJLWVRIHDFK'HEWRU¶VIHGHUDOWD[LGHQWLILFDWLRQQXPEHUDUH
,PHU\V 7DOF $PHULFD ,QF  ,PHU\V 7DOF 9HUPRQW ,QF  DQG ,PHU\V 7DOF &DQDGD ,QF  7KH
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FROOHFWLYHO\³,PHU\V´DOOHJLQJLQMXU\DULVLQJIURPWKHXVHRI-	-¶VWDOFEDVHGSURGXFWVLQFOXGLQJ

-RKQVRQ¶V%DE\3RZGHUDQG6KRZHUWR6KRZHUSURGXFWVWKH³7DOF3URGXFWV´

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                    -	-PDLQWDLQHG&*/LQVXUDQFHRQDQRFFXUUHQFHEDVLVIRUVHYHUDOGHFDGHV

EHJLQQLQJLQWKHVDQGFRQWLQXLQJXQWLO,WLV-	-¶VSRVLWLRQWKDWWKHVH&*/SROLFLHV

SURYLGHFRYHUDJHWR-	-IRUWKH7DOF&ODLPV

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DUHFXUUHQWO\LQYHVWLJDWLQJWKHH[WHQWWRZKLFKWKH\ZLOOSURYLGHFRYHUDJHIRUWKH7DOF&ODLPV

                    7KH &*/ SROLFLHV FRQWDLQ ODQJXDJH SURYLGLQJ IRU FRYHUDJH WR FHUWDLQ

DIILOLDWHG RU VXEVLGLDU\ FRPSDQLHV DV QDPHG LQVXUHGV RU LQVXUHGV )RU H[DPSOH WKH SULPDU\

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DQGDQ\DIILOLDWHGDVVRFLDWHGRUVXEVLGLDU\FRPSDQ\LQDQ\WLHUDVQRZRUKHUHDIWHUPD\EHIRUPHG

DFTXLUHGRUFRQVWLWXWHGRUDQ\RWKHUFRPSDQ\RYHUZKLFK-RKQVRQ	-RKQVRQKDVRUDFTXLUHVDFWLYH

FRQWURORUPDQDJHPHQWVRORQJDV-RKQVRQ	-RKQVRQRUVXFKDIILOLDWHGDVVRFLDWHGRUVXEVLGLDU\

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'HFODUDWLRQRI-RKQ-1RODQ(VTLQ6XSSRUWRI-RKQVRQ	-RKQVRQ¶VDQG-RKQVRQ	-RKQVRQ

&RQVXPHU,QF¶V0RWLRQWR)L[9HQXHIRU&ODLPV5HODWHGWR,PHU\V¶V%DQNUXSWF\8QGHU86&

EDQGEWKH³1RODQ'HFODUDWLRQ´([

                    )URP LWV IRUPDWLRQ LQ  XQWLO -	- VROG LWV LQWHUHVW WKHUHLQ :LQGVRU

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RI:LQGVRUIURP-	-SXUVXDQWWRDVWRFNSXUFKDVHDJUHHPHQWWKH³63$´

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LGHQWLILHVLQ([KLELW/D³VFKHGXOHOLVWLQJDOOVXUHW\DQGRWKHUERQGVWRZKLFK:LQGVRU>LV@DSDUW\

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FRYHUDJHSROLFLHVDQGZRUNHUV¶FRPSHQVDWLRQLQVXUDQFHIURPZKLFKFRYHUDJHKDVEHHQH[WHQGHG

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RFFXUUHQFHEDVHG&*/SROLFLHV²ERWKSULPDU\DQGH[FHVVSROLFLHV²SURYLGHFRYHUDJHWR,PHU\V

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Luzenac America, Inc. ("Luzenac") and Luzenac was a former subsidiary of Rio Tinto. See Nolan

Declaration, Ex. 16 at 1. Further, according to the Demand Letter, Rio Tinto' s position is that IT A

(a Debtor) is the successor-in-intere st to Windsor, by operation of law and assignment of rights in

the SPA. See Nolan Declaration, Ex. 17 at 1.

               17.     On September 13, 2017, Travelers Casualty and Surety Company

("Travelers") responded to Rio Tinto's Demand Letter. See Nolan Declaration, Ex. 18. Travelers

stated: "to the extent any entity potentially retained or currently potentially holds any rights as an

additional insured under the J&J Policies, that entity would appear to be [Debtor ITV], and not

[Debtor ITA] or Rio Tinto." Nolan Declaration, Ex. 18 at 3.

               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

 is true and c01Tect to the best of my knowledge and after reasonable inquiry.



 Dated: April E , 2019
        New Brunswick, New Jersey



                                                      1~
                                                      Director, Risk Management
                                                      Johnson & Johnson




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